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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                          CASE NO. 16-CR-20897-SEITZ

  UNITED STATES OF AMERICA,

  v.

  PRINCESS CRUISE LINES, LTD.,

        Defendant.
  __________________________________/

                        ORDER REVISING DATES
             FOR DISCLOSURE OF COURT APPOINTED MONITOR’S
                    QUARTERLY REPORT IN ADVANCE OF
                    JANUARY 2021 STATUS CONFERENCE

        THIS MATTER came before the Court sua sponte. Currently, the Court

  Appointed Monitor’s (“CAM”) draft Quarterly Report is to be provided to the

  Defendant Company and the Government on or before December 4, 2020, with the

  Final Report being due to the Court on or before December 15, 2020.

        However, because the Quarterly Status Conference has been continued until

  January 27, 2021, the deadline for the CAM’s draft and Final Quarterly Report will

  be revised to coincide with the new date for the Status Conference. Neither the

  Defendant or the Government object to the revised dates. It is therefore

        ORDERED that:

        1.    The CAM’s draft Quarterly Report shall be provided to the Defendant

  Company and the Government on or before Wednesday, January 6, 2021;
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        2.    The CAM’s Final Quarterly Report shall be submitted to the Court on

  or before Wednesday, January 20, 2021.

        DONE AND ORDERED in Miami, Florida, this 20th day of November 2020.


                                      ________________________
                                      PATRICIA A. SEITZ
                                      UNITED STATES DISTRICT JUDGE


  cc:   All counsel of record




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